Case 8:22-cr-Q0407-SDM-JSS Document 222 Filed 05/18/23 Page 1 of 1 PagelD 500
AO 455 (Rev. 5/85) Waiver of Indictment

UNITED STATES DISTRICT COURT

FOR THE
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA WAIVER OF INDICTMENT
Vv. Criminal No. 8:22-cr-407-SDM-JSS

GLORIA GUTIERREZ

I, Gloria Gutierrez, the above named defendant, who is accused of wire
fraud, in violation of 18 U.S.C. § 1343, being advised of the nature of the
charge, the proposed Information, and of my rights, hereby waive prosecution
by Indictment and consent that the proceeding may be by Information rather
than by Indictment. Pursuant to Fed. R. Crim. P. 7(b), I will confirm this

waiver in open court at arraignment or other hgaring.

Me

Gloria Gu Z
“WL

David Hardy, Esq. }
Counsel for Defendant

  
 

 

 

Before

 

Judicial Officer
